
SUAREZ, J.
We affirm. No objection to the restitution order was raised below and cannot now be raised on appeal. See J.S. v. State, 717 So.2d 175, 177 (Fla. 4th DCA 1998) (“When the trial court questioned the attorneys about the propriety of restitution for lost wages, both attorneys agreed that lost wages were recoverable. Having failed to object to this restitution issue at the hearing, appellant failed to preserve this issue for appellate review.”) and cases cited therein; see also Fla. R.App. P. 9.140(e) (“a sentencing error may not be raised on appeal unless the alleged error has first been brought to the attention of the lower tribunal: (1) at the time of sen-fencing; or (2) by motion pursuant to [rule] 3.800(b)”).
Affirmed.
